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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

       v.                                             Case No.:      23-mj 17

RICHARD AVIRETT.
                              NOTICE OF APPEARANCE

       The Clerk of Court will please note the appearance of Robert L. Jenkins, Jr., Esq.

on behalf of the defendant.

            I ASK FOR THIS:

            By counsel

            _____________________________________
            Robert L. Jenkins, Jr., Esq.
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                              CERTIFICATE OF SERVICE

        I hereby certify that I caused a true and accurate copy of the foregoing to be served
on all counsel of record via ECF on this February 21, 2023.



            _____________________________________
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